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 FRIENDS OF ALASKA NATIONAL
 WILDLIFE REFUGES, et al.,                 Case No. 3:19-cv-00216-JWS

                             Plaintiffs,
                      v.

 DAVID BERNHARDT, et al.,

                           Defendants,

  KING COVE CORPORATION,
           et al.,
                      and

 STATE OF ALASKA,

             Intervenor-Defendants.

   PLAINTIFFS’ [PROPOSED] REPLY BRIEF FOR SUMMARY JUDGMENT
                   (Civil Rule 56(a), Local Civil Rule 16.3)




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                       LIST OF SHORT NAMES AND ACRONYMS

       ANCSA                       Alaska Native Claims Settlement Act

       ANILCA                      Alaska National Interest Lands Conservation Act

       APA                         Administrative Procedure Act

       Borough                     Aleutians East Borough

       Corps                       U.S. Army Corps of Engineers

       Interior                    Department of the Interior

       EIS                         Environmental Impact Statement

       ESA                         Endangered Species Act

       Izembek or the Refuge       Izembek National Wildlife Refuge

       NEPA                        National Environmental Policy Act

       OPLMA                       Omnibus Public Land Management Act of 2009

       The Secretary               Secretary of the U.S. Department of Interior

       The Service                 U.S. Fish and Wildlife Service




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                                       INTRODUCTION

         The Exchange Agreement to trade lands within the Izembek National Wildlife

Refuge (Izembek or the Refuge) and its Wilderness for a road is unlawful. It is an

impermissible reversal of agency policy and violates the Alaska National Interest Lands

Conservation Act (ANILCA), the National Environmental Policy Act (NEPA), and the

Endangered Species Act (ESA). The Federal Defendants (Secretary),1 Intervenor-

Defendants King Cove Corporation, et al., (King Cove),2 and the State of Alaska (State)3

fail to show that the Secretary provided a reasoned explanation for the decision, that

ANILCA, NEPA, and the ESA are not applicable to the Exchange Agreement, or that the

Secretary otherwise complied with their mandates. The Court should vacate the Exchange

Agreement and agency decisions relying on it, and enjoin all activities.

                                         ARGUMENT

 I.      THE SECRETARY’S “REBALANCING” OF FACTS DOES NOT MEET THE LEGAL
         REQUIREMENTS FOR AN AGENCY REVERSAL.

         The Secretary failed to adequately explain the reversal of findings and decisions

that a land exchange to allow a road would harm Izembek and not further ANILCA’s

purposes. The Secretary claims that he rebalanced facts in light of new information


         1
             Fed. Defs.’ Resp. to Pls.’ Mot. for Summ. J., Docket 38 (Mar. 3, 2020) (“DOI
Br.”).
       Def.-Intervenors’ Opp. Br. to Pls.’ Mot. for Summ. J., Docket 39 (Mar. 9, 2020)
         2

(“KCC Br.”).
     3
       State of Alaska’s Opp. to Pls.’ Mot. for Summ. J., Docket 40 (Mar. 9, 2020)
(“SOA Br.”).


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regarding alternative transportation options and gave greater weight to “humanitarian

considerations,”4 agreeing to the exchange “regardless of the potential environmental

impacts.”5 This does not satisfy the law.6

       As an initial matter, King Cove’s assertion that the Exchange Agreement does not

represent a policy change is contrary to the record,7 the history of this issue,8 prior

judicial determinations,9 and the Secretary’s position.10 King Cove’s reliance on Ark

Initiative v. Tidwell is misplaced.11 There, the agency made no new findings that

contradicted prior policies or findings.12 Here, the Secretary’s findings directly contradict

earlier findings. King Cove’s argument should be rejected.

       The Secretary quotes Organized Village of Kake v. U.S. Department of Agriculture

(Kake)13 for the proposition that agencies may give more weight to different factors when


       4
         DOI Br. at 30.
       5
         DOI Br. at 29; see id. at 11–12, 26–27.
       6
         See Pls.’ Opening Brief For Summ. J. at 17, 20–21, Docket 32 (Jan. 23, 2020)
(“Friends Br.”) (explaining standard for agency reversals).
       7
         AR INT-002209–15 (KCC letter requesting exchange for a road).
       8
         See Friends Br. at 12–14 (summarizing decades of Service refusals to exchange
lands to facilitate road construction). King Cove claims that the Exchange Agreement is
not a reversal in part because it does not directly authorize road construction. KCC Br. at
22. The 2013 decision similarly did not authorize construction. AR INT-001241, AR
179406.
       9
         Friends of Alaska Nat’l Wildlife Refuges v. Bernhardt (Friends), 381 F. Supp. 3d
1127, 1140–41, 1143–44 (D. Alaska 2019).
       10
          DOI Br. at 29.
       11
          KCC Br. at 19–20.
       12
          816 F.3d 119, 127–28 (D.C. Cir. 2016).
       13
          795 F.3d 956 (9th Cir. 2015).


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changing decisions.14 While correct, it does not stand alone and the Secretary ignores the

Ninth Circuit’s subsequent analysis that an agency must explain prior findings that

conflict with its new policy:

       State Farm teaches that even when reversing a policy after an election, an
       agency may not simply discard prior factual findings without a reasoned
       explanation.

       That is precisely what happened here. The 2003 ROD did not simply
       rebalance old facts to arrive at the new policy. Rather, it made factual
       findings directly contrary to the 2001 ROD and expressly relied on those
       findings to justify the policy change.15

       Like Kake, the Secretary did not merely rebalance old facts. The Secretary made

new findings regarding harm to Refuge resources, the value of lands to be received,

alternative transportation options, and ANILCA’s purposes that are contrary to the

findings of prior Administrations. The Secretary relies on these direct and unexplained

contradictions to support his decision.16 This is not a situation where the Secretary made

a decision of “less than ideal clarity.”17 The contrary findings that Friends identify are the

foundation for the Secretary’s decision. Accordingly, the Secretary “was required to

provide a ‘reasoned explanation . . . for disregarding’ the ‘facts and circumstances’ that

underlay [] previous decision[s].”18 He did not, in violation of the law.


       14
         DOI Br. at 26–27.
       15
         795 F.3d at 968.
      16
         AR INT-000058, 1237–39; Friends Br. at 14 n.35.
      17
         DOI Br. at 29.
      18
         Kake, 795 F.3d at 968 (citing F.C.C. v. Fox Television Stations, Inc., (Fox) 556
U.S. 502, 516 (2009)).

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       A.     The Secretary’s Conclusory Statements Fail to Explain Conflicting
              Findings and Ignore Prior Findings Regarding Harm to Izembek.

       The Secretary’s finding regarding harm to Izembek is directly contrary to prior

findings. Secretary Jewell’s decision to reject a land exchange (the 2013 ROD) found that

Izembek’s internationally significant resources “would be irretrievably damaged by

construction and operation of the proposed road,” and that this degradation “would not be

offset by the protection of other lands to be received under an exchange.”19 In contrast,

the memorandum from Secretary Bernhardt (Secretary’s Memo) states that there would

be “substantial benefits” to the public from increasing the amount of acreage in the

Refuge.20 This conclusory statement does not address the prior findings that harm to

Izembek’s unique resources would not be offset by additional acreage.21

       Further, the 2013 ROD found that restrictions on road use would not sufficiently

protect Izembek,22 while the Secretary’s Memo found that they would.23 There are two



       19
          AR INT-001237–38; see also AR 180521 (“[The exchange] would not
compensate for the adverse effects of removing a corridor of land and constructing a road
within the narrow Izembek isthmus.”); AR 182943 (“[T]he lands lost and lands gained
have little in common with regard to cover types, wildlife potential, or ecological
process/function.”).
       20
          AR INT-002831.
       21
          See Friends, 381 F. Supp. 3d at 1142 (explaining that conclusory statements are
insufficient to support agency reversals) (citing Indigenous Envtl. Network v. United
States Dep’t of State, 347 F.Supp.3d 561, 584 (D. Mont. 2018)); see also Fox, 556 U.S. at
515–16 (explaining that when an agency’s policy change depends on contradictory
findings it must provide a “reasoned explanation” and a “more detailed justification”).
       22
          AR INT-001244.
       23
          AR INT-002832.


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problems here. First, there are no longer use restrictions on the road, so the record cannot

support this contrary finding.24 Second, the Secretary does not explain how the

nonexistent limits would protect resources and uses, he simply states that they would.

This conclusory statement is legally insufficient.25

       In failing to explain his contrary findings, the Secretary also ignored critical

issues. Specifically, the Secretary failed to evaluate the environmental impacts of this

exchange, which trades away more acreage within the Refuge and Wilderness than

previously considered and includes material sites within the Refuge.26 The Secretary’s

failure to explain his decision to enter a larger and more environmentally damaging

exchange than previously considered and rejected is arbitrary.27

       Finally, the State incorrectly argues that the 2013 ROD did not consider impacts to

Northern Sea Otters from marine transport.28 The 2013 final environmental impact




       24
          See infra 10–11.
       25
          See supra note 21.
       26
          Friends Br. at 24–25, 31. The State argues that material sites were considered
previously. State Br. at 16. However, the Exchange Agreement provides for material sites
within Izembek and its Wilderness. Friends Br. at 25, n.87. Previously, material sites
were only considered outside Izembek and were not part of the exchange. AR 179343.
       27
          Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co.
(State Farm), 463 U.S. 29, 43 (1983) (When reviewing an agency’s decision, the court
must ensure that the agency has “examine[d] the relevant data and articulate[d] a
satisfactory explanation for its action including a rational connection between the facts
found and the choice made.” (internal quotation omitted)).
       28
          SOA Br. at 17.


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statement (2013 FEIS) considered these impacts.29 Regardless, the Secretary did not

explain how impacts to sea otters factored into his decision.30 In sum, the record does not

demonstrate that the Secretary “balanced” the environmental impacts of road construction

with other considerations — rather, he ignored them.31

       B.     The Secretary’s Unsupported, Conclusory Statements Are Insufficient
              to Explain Conflicting Findings Regarding the Value of Lands to be
              Received.

       The Secretary did not explain his contrary finding regarding the value of lands to

be received. The Secretary found that lands coming into federal ownership would protect

“scenic, natural, cultural, and environmental values,”32 while prior decisions found that

the lands to be received would not offset the loss to Izembek.33 The Secretary asserts that

the 2013 ROD’s findings regarding the values of lands to be received were “flawed”

because they improperly weighed the lands’ habitat values or conservation status.34 He

cites nothing in the record to explain how the 2013 findings are flawed, or to support his




       29
          AR 179500.
       30
          The State also argues that because road alignment is “nearly identical” to that
considered in 2013, the Secretary considered mitigating measures in siting the corridor.
SOA Br. at 13–14. Neither the Secretary’s Memo nor the record support this contention,
and the State ignores the 2013 ROD’s finding any road alignment too damaging to
warrant an exchange. AR INT-001255.
       31
          Friends Br. at 24–25.
       32
          AR INT-002831.
       33
          Supra note 19.
       34
          DOI Br. at 26; see also SOA Br. at 11–12 (raising similar arguments).


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statement that improper weight was given to the value of the lands to be received.35 Nor

does the Secretary identify any new findings or information regarding the value of those

lands, or explain his finding in light of the fact that prior proposals had more lands

coming into federal ownership than this one.36 Unsupported, conclusory statements are

legally insufficient.37

       C.      The Secretary’s Contradictory Findings Regarding Transportation
               Alternatives Are Unsupported by the Record.

       The Secretary found that non-road options are not viable, directly contrary to prior

findings. The Secretary provides no evidence to support his assertion that transportation

alternatives are “neither viable nor available.”38 As an initial matter, the Secretary argues

that prior administrations failed to consider the high and ongoing costs of Coast Guard

evacuations; however, the use of medevacs in the region is not “new” information,39 nor

does the Secretary explain how the number of medevacs factored into his decision. These

justifications are contrary to the record and cannot justify the Secretary’s reversal.40




       35
           See Agdaagux Tribe of King Cove v. Jewell, 128 F. Supp. 3d 1176, 1200–01
(holding that the 2013 decision to not exchange lands was based on substantial evidence
in the record).
        36
           See Friends Br. at 13–14, 25–26.
        37
           See supra note 21; see also Or. Nat. Desert Ass’n v. Bureau of Land Mgmt., 625
F.3d 1092, 1121 (9th Cir. 2010) (“We cannot defer to a void.”).
        38
           DOI Br. at 11.
        39
           DOI Br. at 12; contra AR INT-001247.
        40
           See also supra note 27.


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       The Secretary and King Cove point to the U.S. Army Corps of Engineers’ 2015

study as providing “new information.”41 This study does not conclude that road

alternatives are not viable or available.42 Nor does the study relieve the Secretary of his

obligation to explain his findings in light of conflicting facts, which he does not do. The

Secretary’s Memo provided no evidence that non-road alternatives are cost prohibitive,

and did not discuss how financial feasibility or technical viability was measured.43 While

a road is King Cove’s preferred option — a fact well-known to prior administrations44 —

the Secretary is not charged with implementing King Cove’s preference. The Secretary is

charged with complying with the law.

       Finally, and as explained below, the Secretary cannot show that the new policy is

permissible under ANILCA.45 Decades of prior agency decisions found that an exchange

to allow a road would not meet ANILCA’s purposes.46 The Secretary does not confront




       41
          DOI Br. at 27; KCC Br. at 26.
       42
          The Secretary asserts that the study concluded that a marine route’s risks were
medium-serious and costly. DOI Br. at 28. This is incorrect. The study notes that funding
and permitting would be necessary — as they would be for any alternative, including a
road — not that costs are excessive. AR INT-001303. As Friends pointed out, the
estimated marine ferry and road costs are comparable. Friends Br. at 18–19.
       43
          Friends Br. at 26–27.
       44
          Id. at 12–13.
       45
          Fox, 556 U.S. at 515.
       46
          See Friends Br. at 12–14, 22.


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these specific findings, offering conclusory statements instead of a reasoned explanation

supported by the record.47

       Before entering into the Exchange Agreement, the Secretary was required to

confront contrary prior factual findings and conclusions and provide a “detailed

justification” supported by the record for why the agency changed position.48 The

Secretary failed to do so, in violation of the APA.

II.    THE LAND EXCHANGE DOES NOT FURTHER ANILCA’S PURPOSES.

       The Secretary argues that the land exchange achieves ANILCA’s purposes

because it benefits King Cove’s economic and social needs.49 As Friends explained, the

Secretary’s findings are not supported by, and are inconsistent with, the record.50



       47
           DOI Br. at 25; see also supra note 21.
       48
           Friends Br. at 21; supra note 21.
        49
           DOI Br. at 30–35; see also KCC Br. at 38–43 (same); SOA Br. at 18–19 (same).
While the Secretary asserts that economic and social needs are purposes of ANILCA,
DOI Br. at 30–31; see also KCC Br. at 39, the language the Secretary relies on is
Congress’ statement that it achieved the proper balance of conservation and economic
and social needs in passing ANILCA. 16 U.S.C. § 3101(d). ANILCA’s purposes focus on
conservation and subsistence. Id. at § 3101(a)–(c); see also Alaska v. Fed. Subsistence
Bd., 544 F.3d 1089, 1091, 1098 (9th Cir. 2008) (stating that “Congress enacted ANILCA
to further two ends:” preservation and subsistence and that ANILCA’s purposes are
“protecting and preserving the subsistence lifestyle and protecting and preserving
wildlife” (citing 16 U.S.C. § 3101(b)–(c))). The Secretary does not justify why further
weight should be given to economic and social needs beyond what Congress provided.
        50
           Friends Br. at 29–33. The State misunderstands Friends; Friends did not assert
that the exchange provision can only be used to avoid condemnation. SOA Br. at 21.
Friends explained that Congress’ intent in adopting the provision was to provide a land
acquisition option preferable to condemnation while requiring ongoing protection of
designated lands. Friends Br. at 28. King Cove cites to ANCSA’s exchange provision to


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       The Secretary primarily relies on statements in the Land Protection Plan (Plan) to

conclude that the exchange furthers ANILCA’s purposes because it adds acreage to the

refuges and provides additional protections for acquired lands.51 But the Plan addresses

the question of whether lands should be acquired generally, not whether those lands

should be acquired in exchange for lands to build a road.52 Importantly, the Plan states

that a road through the isthmus is the biggest threat to Izembek and explains the

importance of maintaining Izembek’s ecological integrity.53 The Secretary does not

confront these facts. The record also does not support the Secretary’s assertion that

increased acreage furthers ANILCA’s purposes.54 The Secretary’ assertions are

unsupported by the record.55

       As Friends explained and the Secretary concedes, the Exchange Agreement

contains no use restrictions for a road.56 The Secretary does not explain his finding that




assert broad authority to enter the exchange. KCC Br. at 41–42. The exchange was not
executed under that provision. AR INT-002865.
        51
           DOI Br. at 32–33.
        52
           AR INT-00003, 10–11.
        53
           AR INT-000058, 63.
        54
           DOI Br. at 32–33; Friends Br. at 30–31; see also supra note 19 (explaining prior
findings regarding the values of these lands not compensating for the values of the lands
to be lost).
        55
           Relatedly, the Secretary overstates Friends’ argument concerning the KCC
Exchange Lands. DOI Br. at 32. Friends did not assert that there are no conservation
values in these lands, but that the record does not support an exchange of those lands for
Izembek’s isthmus. Friends Br. at 30–31.
        56
           Friends Br. at 31; DOI Br. at 19 n.5; KCC Br. at 43 n.13.


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use restrictions would provide the protections necessary to satisfy ANILCA’s purposes

given that there are no restrictions in the agreement.57 Without restrictions in place for

lands currently designated as the Refuge and Wilderness, the Secretary’s conclusion

should be rejected.58 Additionally, while the lands to be acquired are already subject to

Alaska Native Claims Settlement Act (ANCSA) 22(g) protections, the Secretary

summarily states that additional, unidentified protections will be put into place when

those lands are acquired.59 Without identifying use restrictions and future protections, the

Secretary’s conclusion that the purposes of ANILCA will be met cannot be supported by

this record.60

       The Secretary indicates that the exchange will benefit subsistence uses and users.61

The Secretary did not rely on subsistence benefits in his decision; this post hoc rationale

should be rejected.62 Regardless, the Secretary fails to acknowledge that subsistence uses

and users are protected in Izembek.63 Additionally, the 2013 FEIS indicates that



       57
          AR INT-002832.
       58
          See supra note 37 (noting that courts “cannot defer to a void.”).
       59
          DOI Br. at 32.
       60
          Friends Br. at 30 & nn.115, 116; see also AR INT-001244 (prior finding that
continued current ownership of lands would be less impactful on Izembek than
construction of a road).
       61
          DOI Br. at 33; SOA Br. at 5, 32.
       62
          AR INT-002829–33, 2865–66; State Farm, 463 U.S. at 43, 50 (explaining that
“courts may not accept [] counsel’s post hoc rationalizations for agency action”).
       63
          16 U.S.C. §§ 3101(c), 3111–12; see also Nat’l Audubon Soc’y v. Hodel, 606 F.
Supp. 825, 839 (D. Alaska 1984) (noting that subsistence users are protected by ANILCA
and finding that easement will not provide additional subsistence protections).


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subsistence effects from an exchange would be neutral,64 and the Secretary points to no

evidence that rebuts this determination.

       Finally, the State misconstrues Friends’ argument to mean that there could never

be an exchange and that the Secretary must prioritize wildlife above all other values.65

Friends simply asserts that the Secretary must follow the law: when executing an

exchange, the Secretary must ensure that it furthers ANILCA’s and Izembek’s

purposes.66 That is Congress’ directive.67 It was not achieved here.

III.   TITLE XI CONTROLS THE EXCHANGE AGREEMENT BECAUSE IT ENABLES A
       ROAD THROUGH IZEMBEK.

       To authorize a road within Izembek, the Secretary was required to follow the

procedures in ANILCA Title XI. It is undisputed that the Exchange Agreement is to

allow a road through Izembek, making this the type of transaction Congress intended

Title XI to govern. ANILCA Section 1302(h) does not exempt the Exchange Agreement

from those requirements.




       64
           AR INT-001254–55, AR 181365–66, 182866.
       65
           SOA Br. at 22. The Secretary raises a similar argument — that Friends argued
the agency can never reverse its position. See DOI Br. at 25. This is incorrect. Friends Br.
at 20–21 (explaining the standard for agency reversal and that it was not met).
        66
           The State presents conflicting arguments concerning whether the exchange must
meet both ANILCA’s general purposes and Izembek’s specific purposes, and misreads
Friend’s brief as asserting that only refuge-specific purposes must be satisfied. SOA Br.
at 20, 24–25. As Friends explained, Section 1302(h) requires consistency with
ANILCA’s broad purposes and the refuge-specific purposes. Friends Br. at 28–29.
        67
           Friends Br. at 28 & n.107.


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       The Secretary and King Cove argue that because the exchange precedes road

construction, Title XI is not applicable because the lands are no longer federal lands.68

This chicanery is inconsistent with Congress’ express intent that Title XI is the “single

comprehensive statutory authority” for authorizing transportation systems.69 The

Secretary’s interpretation would nullify the protections Congress established when

adopting Title XI by enabling land exchanges to circumvent its procedures.70 Regardless,

the Secretary’s interpretation of Title XI is not due deference because the statute is not

ambiguous.71

       The Secretary and King Cove further argue that the Exchange Agreement is not an

“authorization” such that they did not have to comply with Title XI.72 It is undisputed that

the purpose of the Exchange Agreement is for a road and it is the first step in allowing a

road. Indeed, the Secretary justifies the Exchange Agreement due to the “acute necessity .

. . for a road connecting King Cove and Cold Bay,”73 and King Cove specifically

requested the exchange for a “transportation system.”74 It is, therefore, an “authorization

[] without which a transportation or utility system cannot, in whole or in part, be



       68
          DOI Br. at 37; KCC Br. at 44.
       69
          16 U.S.C. § 3161(c).
       70
          See Friends Br. 33–35 (describing legislative intent to minimize adverse impacts
from siting of transportation systems by mandating compliance with Title XI).
       71
          Friends Br. at 18.
       72
          DOI Br. at 36; KCC Br. at 44.
       73
          DOI Br. at 11.
       74
          AR INT-002209.


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established or operated.”75 It is irrelevant that additional permits are required; there is no

caveat in Title XI that only a single authorization be required nor an exemption for initial

decisions.76

       Further, Title XI is not subordinate to Section 1302. The Secretary and King Cove

do not explain why the general exchange authority in Section 1302(h) should overcome

the focused, specific procedures in Title XI.77 Where the two provisions could conflict,

Title XI must control. Title XI’s provisions generally do not contravene the Secretary’s

authority to enter land exchanges. Section 1302(h) and Title XI could conflict only where

the Secretary enters into a land exchange to enable a transportation or utility system

without following Title XI’s procedures. In cases like this, Section 1302’s general

authority must yield.

       Similarly, Section 1302(h)’s “notwithstanding” clause does not overcome Title XI.

The Secretary does not address these “notwithstanding” provisions in context nor provide

support for why Section 1302(h) should prevail over Title XI’s notwithstanding clause.78




       75
          16 U.S.C. § 3162(1); see also Friends Br. at 37.
       76
          See 16 U.S.C. § 3164(b)(1) (describing the need to consolidate applications for
transportation systems that require multiple permits).
       77
          Friends Br. at 37 & n.149. King Cove states that Section 1302(h) is the
“specific” authority governing the “general” provisions of Title XI. KCC Br. at 45. The
statutory provisions themselves demonstrate otherwise.
       78
          DOI Br. at 37. Had Congress intended Section 1302 to override provisions
within ANILCA, it would have included such language. Elsewhere in ANILCA,
Congress expressly exempted specific actions from the application of ANILCA and other


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Likewise, King Cove offers no support for its assertion that Congress intended Section

1302(h)’s “notwithstanding” clause to override other provisions of law generally.79

“Notwithstanding” clauses set aside potentially conflicting laws, not all legal dictates.80

Congress intended Section 1302(h)’s “notwithstanding” provision to exempt land

exchanges from the requirement of an equal value or complex public interest exchange.81

There is no indication that it should invalidate the application of Title XI when the

Secretary undertakes an exchange to allow for a road through a refuge. Construing

Section 1302(h)’s “notwithstanding” clause to circumvent Title XI82 is contrary to

Congressional intent in enacting Title XI.

       Further, Title XI provides that “[n]otwithstanding any provision of applicable

law,” no action with respect to authorization of a transportation system “shall have any

force or effect unless the provisions of this section are complied with.”83 Interpreting the

plain language of Title XI and Section 1302 to require the Secretary to comply with Title




laws. See, e.g., 16 U.S.C. § 3121(b) (“Notwithstanding any other provision of this Act or
other law . . . .”); id. at § 3170(a) (same). No such language appears in Section 1302(h).
       79
          KCC Br. at 45.
       80
          Cisneros v. Alpine Ridge Grp., 508 U.S. 10, 18 (1993); Drakes Bay Oyster Co.
v. Jewell, 747 F.3d 1073, 1083 (9th Cir. 2014).
       81
          Friends Br. at 36 & n.147.
       82
          DOI Br. at 37.
       83
          16 U.S.C. § 3164(a) (emphasis added).


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XI here gives meaning to both provisions84 and is consistent with Congress’ intent that

Title XI provides the “single comprehensive authority” for transportation system units.

       Finally, the State asserts that the Exchange Agreement is permissible under

Section 1110 of ANILCA because the City of King Cove is an inholding.85 This theory

was not a basis for the exchange and must be rejected.86 Moreover, if King Cove believes

that the City is an inholding, it can avail itself of those procedures.87 It has not done so.

       In sum, the Secretary may not use Section 1302(h) to circumvent Title XI’s

requirements. The Secretary was required to follow Title XI’s procedures. He did not.

The Secretary violated ANILCA and the Exchange Agreement is, therefore, void.88

IV.    THE SECRETARY VIOLATED NEPA BECAUSE HE WRONGLY CONCLUDED THAT
       SECTION 910 OF ANILCA PROVIDED AN EXEMPTION.

       The Secretary does not contest that the Exchange Agreement is a major federal

action that would trigger NEPA.89 Instead, the Secretary asserts that the plain language of


       84
           League of Conservation Voters v. Trump, 363 F. Supp. 3d 1013, 1018 (D.
Alaska 2019) (“[A] statute should be construed so that effect is given to all its provisions,
so that no part will be inoperative or superfluous, void or insignificant.” (citations
omitted)).
        85
           State Br. at 27.
        86
           See supra note 62 (explaining that the Court should reject post hoc rationales).
        87
           See 43 C.F.R. § 36.10 (regulatory procedures for inholdings under Section
1110(b)).
        88
           16 U.S.C. § 3164(a) (Title XI voids any actions taken without compliance); see
also Friends, 381 F. Supp. 3d at 1143 (“The APA states that a reviewing court shall ‘hold
unlawful and set aside agency action . . . not in accordance with law.’” (citations
omitted)).
        89
           Friends’ Br. at 38 & n.155. The State appears to assert that the land exchange is
not a major federal action that would require an EIS. SOA Br. at 28. If an agency is


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Section 910 exempts the Exchange Agreement from NEPA, claiming deference for his

interpretation of that provision.90 The Secretary is not due deference for his interpretation

because Section 910 is not ambiguous.91

       Section 910 only exempts land transactions from NEPA that are undertaken to

fulfill original land entitlements granted by ANCSA.92 Friends does not argue that

Section 910 solely applies to land transactions undertaken pursuant to ANCSA.93 This

exchange does not fulfill King Cove Corporation’s ANCSA entitlements.94 It is,

therefore, not exempt from NEPA by Section 910.




uncertain if an EIS is required, NEPA requires an agency to complete an environmental
assessment first. 40 C.F.R. §§ 1501.4, 1508.9.
        90
           DOI Br. at 38.
        91
           Friends Br. at 18, 38–42; see also Chandris, Inc. v. Latsis, 515 U.S. 347, 369
(1995) (noting that interpretation of a statute is a question of law for the court). King
Cove and the State assert that the statute must be interpreted in favor of Alaska Natives.
KCC Br. at 30 n. 10, 31; SOA Br. at 32. It does not harm Alaska Natives to require
compliance with NEPA to execute an exchange outside of ANCSA entitlements. To the
contrary, it ensures transparency as well as broad tribal participation in decision making.
        92
           Friends Br. at 39–42.
        93
           DOI Br. at 38; see also SOA Br. at 30–31. The State asserts that the agreement
is also executed pursuant to ANCSA. SOA Br. at 30. This is incorrect. AR INT-002815,
2867.
        94
           AR INT-002867. King Cove and the State assert that the land exchange will
fulfill ANCSA entitlements. KCC Br. at 37–38; SOA Br. at 30. This is contrary to the
Exchange Agreement and the record. AR INT-002867, 2874; AR 86428; AR INT-
000018 (explaining that lands in the isthmus generally cannot be selected under
ANCSA).


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       This interpretation is supported by the statutes’ text, context (including statutory

structure), and legislative history.95 The Secretary focuses narrowly on the common

meaning of the term “conveyance” to assert that the land exchange is exempted by

Section 910.96 While “conveyance” is not defined in ANCSA or ANILCA, and is

generally defined as “[t]he voluntary transfer of a right or of property”,97 its meaning

must be informed by the context of its usage in the statute.98 ANILCA uses the term

“conveyance” in relation to those actions that would fulfill land entitlements provided by

ANCSA and ANILCA’s provisions to implement ANCSA.99 Taking the text and context

together, Congress intended “conveyance” in Section 910 to mean transfers of property to




       95
          Friends Br. at 18; see also Christensen v. Comm’r of Internal Revenue, 523 F.3d
957, 960–62 (9th Cir. 2008) (using text, context, and legislative history to reveal
Congressional intent).
       96
          DOI Br. at 39; SOA Br. at 31 (advancing a similar argument).
       97
          Conveyance, Black’s Law Dictionary (10th ed. 2014).
       98
          See Dolan v. U.S. Postal Serv., 546 U.S. 481, 486 (2006) (Explaining that words
should not be defined in isolation and that interpretation of a word “depends upon reading
the whole statutory text, [and] considering the purpose and context of the statute . . . .”);
Davis v. Mich. Dep’t of Treasury, 489 U.S. 803, 809 (1989) (stating that it is a
“fundamental canon of statutory construction that the words of a statute must be read in
their context and with a view to their place in the overall statutory scheme”).
       99
          Friends Br. at 39–40.


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fulfill land entitlements provided by ANSCA and ANILCA.100 This provision’s

legislative history reinforces this conclusion.101

       This interpretation would give full effect to Congress’ intent in passing Section

910: to speed the transfer of lands necessary to complete ANSCA entitlements,102 and

would not render the term “‘this Act’ superfluous.”103 The Secretary’s argument that the

Exchange Agreement is an “other action” similarly fails: whether it is a conveyance or an

“other action,” Section 910 applies only to transactions to fulfill ANCSA entitlements,

which the Exchange Agreement does not.104

       King Cove also argues that the “notwithstanding any other provision of law”

language of Section 1302(h) wholly exempts land exchanges from NEPA.105 This is a




       100
           Both King Cove and the State cite to 43 U.S.C. § 1613a to argue that exchanges
are conveyances. KCC Br. at 36–37; SOA Br. at 31 (both incorrectly cite 16 U.S.C. §
1613a and the State additionally cites 16 U.S.C. § 1613d, which does not appear in the
U.S. Code). This 2006 amendment to ANCSA addresses circumstances where a Native
Corporation reconveys its lands to another Native Corporation. 43 U.S.C. § 1613a. It is
factually inapplicable. Regardless, it does not alter the conclusion that Section 910 was
intended to cover only those transactions to fulfill ANCSA entitlements.
       101
           Friends Br. at 41. King Cove points to the seemingly broad Committee Report
language, KCC Br. at 33–34, 37, but when read in context, that Report reinforces that the
NEPA exemption was intended to expedite ANCSA entitlements. Friends Br. at 41 &
n.166, 167.
       102
           See Food and Drug Admin. v. Brown & Williamson Tobacco Corp., 529 U.S.
120, 132–33 (2000) (stating that the Court must give effect to Congress’ intent).
       103
           DOI Br. at 39.
       104
           DOI Br. at 39; SOA Br. at 31.
       105
           KCC Br. at 32–35.


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post hoc argument and contrary to the record.106 The Exchange Agreement and

Secretary’s Memo rely solely on Section 910.107 Further, Section 1302(h)’s

“notwithstanding” provision would not exempt exchanges from NEPA, because NEPA is

not in conflict with the exchange provision.108

       The State also confuses the application of NEPA with the proper remedy of

vacatur, arguing that a supplemental environmental impact statement would be useless.109

As explained below, vacatur is the proper remedy. Additionally, the State’s argument

negates NEPA’s purpose of informed decision-making prior to agency action.110

       Section 910 of ANILCA does not apply to the Exchange Agreement because the

Exchange Agreement does not satisfy King Cove Corporation’s ANCSA entitlements.

The Exchange Agreement is not, therefore, exempt from NEPA. The Secretary violated

NEPA by failing to follow its procedural mandates before executing the Exchange

Agreement.111


       106
           See infra note 62.
       107
           AR INT-002815, 2867.
       108
           See supra 14–15. King Cove’s reliance on Alaska v. United States Forest
Service, 2019 WL 245174, *2 (June 11, 2019) is misplaced. KCC Br. at 32. The statute at
issue in that case immediately enacted easements into law, creating potential conflict
between the statutes by requiring a NEPA process for Congressionally approved
easements. Similarly, the statute in Consejo de Desarrollo Economico de Mexacali v.
United States, 482 F.3d 1157, 1169 (9th Cir. 2007) directed immediate implementation.
KCC Br. at 33–34. Section 1302(h), in contrast, would be used in the future to exchange
lands.
       109
           SOA Br. at 29.
       110
           40 C.F.R. § 1502.5; see also Friends Br. at 41–42 & n.169.
       111
           See also Friends, 381 F. Supp. 3d at 1143; supra note 88.

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 V.    INTERIOR WAS REQUIRED TO CONSULT ON THE EFFECTS OF THE EXCHANGE
       AGREEMENT AND CANNOT RELY ON THE SERVICE’S PRIOR NO EFFECT
       FINDING.

       It is undisputed that the Secretary did not complete ESA consultation before

executing the Exchange Agreement. The Secretary argues that there is a procedural and

substantive bar to Friend’s challenge of this failure. Both are incorrect.

       First, the Exchange Agreement is ripe for review because it is a final and binding

decision that establishes legal rights. There is no need for further administrative action or

factual development to decide the issues raised. When a party suffers a procedural injury

such as the failure to consult, it “may complain of that failure at the time the failure takes

place, for the claim can never get riper.”112 Friends need not wait until King Cove

implements road construction to challenge this failure: “[t]he imminence of project-

specific implementation is irrelevant to the ripeness of an action raising a procedural

injury.”113 The Secretary’s failure to consult on the direct, indirect and cumulative effects

of the Exchange Agreement on protected species is a final agency action ripe for judicial

review.

       On the substance of Friends’ claim, the Secretary incorrectly asserts that the

Service properly reviewed and relied on its earlier analysis in the 2013 FEIS to satisfy its




       112
          Ohio Forestry Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 737 (1998).
       113
          Cottonwood Envtl. Law Ctr. v. U.S. Forest Serv., 789 F.3d 1075, 1084 (9th Cir.
2015) (internal citations omitted).


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ESA obligations.114 The Secretary implies that no documentation is needed for a “no

effect” determination; however, the cases and regulation he relies upon do not support

that contention.115 Rather, “no effect” determinations must be supported by the record.116

There is nothing in the record documenting ESA review by the Service or demonstrating

that the Service actually made a “no effect” determination here.117 The Secretary’s

argument lacks legal basis and is not supported by the record.

       The Secretary also alleges that the Exchange Agreement will have “no effect” on

listed species or critical habitat because it is a “purely legal transaction.118 To support this

argument, he mischaracterizes the 2013 FEIS as documenting the Service’s finding of

“no effect” for a land exchange.119 The Secretary further mischaracterizes the Service’s

findings in stating that consultation is required “only when and if measures are actually

ever taken to implement road construction.”120 This is contrary to the record and legally




       114
           DOI Br. at 41–42.
       115
           50 C.F.R. § 402.14(a) (describing consultation generally, but not addressing
“no effect” determinations); Sierra Forest Legacy v. U.S. Forest Serv., 598 F. Supp. 2d
1058, 1069 (N.D. Cal. 2009) (upholding “no effect” determination after preparation of a
biological assessment); Sw. Ctr. for Biological Diversity v. U.S. Forest Serv., 100 F.3d
1443, 1447–48 (9th Cir. 1996) (same); Pac. Rivers Council, 30 F.3d at 1054 n.8
(describing consultation process generally; a “no effect” determination was not at issue in
the case).
       116
           Friends Br. at 45 n. 188.
       117
           See supra note 37 (noting that Courts “cannot defer to a void”).
       118
           DOI Br. at 42.
       119
           Id.
       120
           Id.


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incorrect. In 2013, the Service determined that a land exchange to authorize a road would

affect listed species and critical habitat, and that consultation would be required if the

Secretary approved such a land exchange.121 Regardless, “purely legal” or administrative

transactions are not exempt from ESA requirements.122 Road construction is not

necessary — the Exchange Agreement itself triggers ESA requirements.

       Finally, the Secretary was required to consult on impacts to listed species from

road construction, operation, and maintenance. The Secretary argues that Interior is not

required to consult on impacts from road construction.123 Under the ESA, the “effect” of

a proposed action includes direct, indirect, and cumulative effects.124 To show that

something is an indirect effect, it must be caused by the action, come later in time, and be

“reasonably likely to occur.”125 “[A]n indirect effect . . . is one that the action makes

possible (or indeed, more probable), but does not directly cause.”126 The fact that

subsequent funding, planning, and permitting would occur for a road does not shield the




       121
           Friends Br. at 45 & n.187; AR 181304–81308.
       122
           See, e.g., W. Watersheds Project v. Kraayenbrink, 632 F.3d 472, 498 (9th Cir.
2011) (rejecting BLM’s argument that amending its grazing regulations was “purely
administrative” and would have no effect on species).
       123
           DOI Br. at 44–45.
       124
           50 C.F.R. § 402.02.
       125
           San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d 971, 1009 (9th Cir.
2014).
       126
           Id.; see also 50 C.F.R. § 402.02.


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Secretary from having to consider its impacts now.127 The Secretary does not distinguish

precedent on this point. He instead provides an unsupported assertion that because the

Service determined there would be “no effect,” the agency need not consider cumulative

effects.128 This circular argument is contrary to the plain language of the ESA regulations

and controlling Ninth Circuit precedent.129

VI.    THE COURT SHOULD VACATE THE EXCHANGE AGREEMENT AND ENJOIN
       FURTHER ACTION.

       The Secretary argues that vacatur under the Administrative Procedure Act (APA)

is not automatic when the Court finds a legal error, asserting that courts must weigh the

legal error, equities, and public interest.130 This misstates the law. Vacatur is the

presumptive remedy under the APA.131 While courts have recognized a very narrow



       127
            See, e.g., Nat’l Wildlife Fed’n v. Coleman, 529 F.2d 359, 373 (5th Cir. 1976)
(requiring consultation on residential and commercial development expected to result
from highway construction as an indirect effect); see also San Luis & Delta-Mendota
Water Auth., 776 F.3d at 1009; Conner v. Burford, 848 F.2d 1441, 1453–54 (9th Cir.
1988) (requiring consideration not only oil and gas leases, but impacts from future
exploration and development).
        128
            DOI Br. at 45.
        129
            Friends Br. at 45–46; see also Friends of Se.’s Future v. Morrison, 153 F.3d
1059, 1069 (9th Cir. 1998) (“[A]n agency’s interpretation does not control, where, as
here, it is plainly inconsistent with the regulation at issue.”).
        130
            DOI Br. at 46. The Secretary and KCC request additional briefing on remedy if
the Court grants summary judgement for Friends. DOI Br. at 46–47; KCC Br. at 46.
Neither party sought separate remedy briefing when the parties modified the summary
judgment schedule, which does not provide for a separate remedy briefing. Local Rule
16.3; Joint Stipulation of Extension of Time to File Mot. for Summ. J. Briefing (ECF No.
30). This request should be rejected.
        131
            Friends Br. at 47 & n.194.


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exception in circumstances where there could be serious environmental harm from

vacating, the burden is on the party seeking remand without vacatur to show that

deviation from the standard is warranted.132 Neither the Secretary nor King Cove offered

any arguments to meet their burden of demonstrating that this case is one of the “rare

circumstances” where departure from the presumptive remedy of vacatur is warranted.133

Friends’ raise fundamental flaws that go to the heart of the legality of the Exchange

Agreement. As the District Court previously recognized, these are serious errors and

there is no indication that there will be disruptive consequences from vacatur.134 The

Court should vacate and void the Exchange Agreement and all authorizations issued

pursuant to it, including survey work.

       Friends also explained that an injunction preventing any further on-the-ground

activities taken pursuant to the Exchange Agreement is necessary under the ESA until



       132
           Friends Br. at 47 & n.196; see also Pollinator Stewardship Council v. U.S.
Envtl. Prot. Agency, 806 F.3d 520, 532 (9th Cir. 2015) (vacating a rule that could harm
bee populations because leaving it in place “risks more potential environmental harm
than vacating it”); Ctr. for Food Safety v. Vilsack, 734 F. Supp. 2d 948, 951 (N.D. Cal.
2010) (“[T]he Ninth Circuit has only found remand without vacatur warranted by equity
concerns in limited circumstances, namely [when] serious irreparable environmental
injury [will occur if the decision is vacated].”).
       133
           Though this case is not about a regulation or a permit, King Cove fails to cite
any authority to indicate that the presumptive remedy of vacatur is inapplicable. KCC Br.
at 45–46. King Cove also asserts that ambiguities should be resolved in favor of Alaska
Native organizations. KCC Br. at 45–46. As the District Court recognized, the legal faults
with the Exchange Agreement are not based on ambiguous terms in the agreement.
Friends, 381 F. Supp. 3d at 1143.
       134
           Friends, 381 F. Supp. 3d at 1143.


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consultation is completed.135 Neither the Secretary nor King Cove has offered any

argument to refute this statutory remedy. An injunction should be entered.

                                      CONCLUSION

       The Court should grant Friends’ Motion for Summary Judgment, vacate and void

the Exchange Agreement, including all authorizations issued pursuant to it, and enjoin

any activities until ESA consultation requirements are fulfilled.

       Respectfully submitted this 23rd day of March, 2020.


                                           s/ Bridget Psarianos
                                          Bridget Psarianos (AK Bar No. 1705025)
                                          Brook Brisson (AK Bar No. 0905013)
                                          Valerie Brown (AK Bar No. 9712099)
                                          TRUSTEES FOR ALASKA

                                          Attorneys for Plaintiffs




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             Friends Br. at 48.

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                             CERTIFICATE OF SERVICE

       I certify that on March 23, 2020, I caused a copy of the PLAINTIFFS’
[PROPOSED] REPLY BRIEF FOR SUMMARY JUDGMENT to be electronically filed
with the Clerk of the Court for the U.S. District Court of Alaska using the CM/ECF
system.



                                                     s/Bridget Psarianos
                                                     Bridget Psarianos




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